             Case 22-11598-amc                    Doc        Filed 08/09/24 Entered 08/09/24 11:20:44                              Desc Main
                                                             Document      Page 1 of 6
 Fill in this information to identify the case:
 Debtor 1    Angela N. Griffin

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of PENNSYLVANIA

 Case number 22-11598-amc

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: U.S. BANK TRUST NATIONAL                                        Court claim no. (if known): 3-1
ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT
SOLELY AS OWNER TRUSTEE FOR RCF 2 ACQUISITION
TRUST
Last 4 digits of any number you use to                                            Date of payment change: 10/1/2024
identify the debtor’s account: 8452                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $1,998.33
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ______________________________________________________________________________________________________

         Current escrow payment: $868.22                             New escrow payment: $795.77


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         ______________________________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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Debtor 1 Angela N. Griffin                                               Case number (if known) 22-11598-amc
           Print Name          Middle Name      Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

         Michelle L. McGowan
     /s/ ______________________                              8/2/2024
                                                       Date ________________________
     Signature



  Print                 Michelle L. McGowan
                        __________________________________________________                                     Title   Authorized Agent for Creditor
                        First Name                      Middle Name      Last Name


  Company               Robertson, Anschutz, Schneid, Crane & Partners, PLLC


  Address               13010 Morris Road, Suite 450
                        Number               Street


                        Alpharetta GA 30004
                        City                                                  State       ZIP Code

  Contact Phone         470-321-7112
                                                                                                                        mimcgowan@raslg.com
                                                                                                               Email _______________________




To the extent any prior interest rate adjustments under the terms of the loan documents or prior escrow adjustments were

 not noticed in this Court pursuant to Bankruptcy Rule 3002.1 after December 1, 2011 or the Petition Date (whichever is

    later), Creditor will credit the debtor, as appropriate, to give the debtor the benefit of any lower payment amount as

 provided under the loan documents, escrow analysis, or a notice previously filed with this Court pursuant to Bankruptcy

 Rule 3002.1. This does not constitute a modification of the payment obligations under the terms of the promissory note,

                                                                mortgage, or other loan documents.



Please note the creditor is in the process of filing a Transfer of Claim to reflect the creditor as the transferee of this claim.
 However, this notice of mortgage payment change is being filed to ensure the creditor’s compliance with Fed. R. Bankr.
                                                           P. 3002.1.




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                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on ______________________,
                                          August 9, 2024        I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States
Mail to the following:

Angela N. Griffin
31 Westview Street
Philadelphia, PA 19119

And via electronic mail to:

MICHAEL I. ASSAD
Cibik Law, P.C.
1500 Walnut St
Ste 900
Philadelphia, PA 19102

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107




                                                  By: /s/ Kayla Kalani




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                                            Document      PageTelephone:
                                                               4 of 6 (877) 735-3637
                                                              Fax: (866) 926-5496
                                                                    www.selenefinance.com
P.O. Box 8619
                                                                    Hours of Operation
Philadelphia, PA 19101-8619                                         Monday through Thursday 8:00 am to 9:00 pm, CT; Friday 8:00
                                                                    am to 5:00 pm, CT




MICHAEL I ASSAD
Cibik Law, P.C.
1500 WALNUT STSTE 900
Philadelphia PA 19102




Re: Account Number:
    Mortgagor(s):       ANGELA FOSTER GRIFFIN

     Property Address: 31 WESTVIEW ST
                       PHILADELPHIA PA 19119




Our records indicate the above referenced account has been impacted by a bankruptcy filing. If a mortgagor has received a
discharge in bankruptcy, Selene fully acknowledges that such mortgagor has no personal liability for the debt and is not
attempting to collect the debt from that mortgagor personally. If the account is impacted by an active bankruptcy case,
Selene fully acknowledges the automatic stay and is not attempting to collect the debt. THIS NOTICE IS FOR INFORMATIONAL
PURPOSES ONLY.




Selene Finance LP is a debt collector attempting to collect a debt and any information obtained will be used for that
purpose.
Please note, however, that if you are in bankruptcy or received a bankruptcy discharge of this debt, this
communication is not an attempt to collect the debt against you personally.

For Servicemembers and their Dependents: The Federal Servicemembers Civil Relief Act and certain state laws
provide important protections for you, including, under most circumstances, a prohibition on foreclosure during and
twelve months after the servicemember’s active duty service. Selene will not foreclose on the property of a
servicemember or his or her dependent during that time, except pursuant to a court order. You also may be entitled to
other protections under these laws, including interest rate and fee relief. Please contact us to learn more about your
rights.
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                                                                                        ANNUAL 11:20:44  Desc Main
                                                                                               ESCROW ACCOUNT
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                                                                                         DISCLOSURE STATEMENT
                                                                                                   Online Information: www.selenefinance.com
    P.O. Box 8619                                                                                  Email: customerservice@selenefinance.com
    Philadelphia, PA 19101-8619
                                                                                                   Hours Of Operation: Monday through Thursday 8:00 am to
                                                                                                   9:00 pm, CT; Friday 8:00 am to 5:00 pm, CT
                                                                                                   Phone: (877) 735-3637
                                                                                                   Hearing Impaired: Call 711 or (800) 735-2989
                                                                                                   Fax: (866) 926-5496
                                                                                                   Correspondence:
    MICHAEL I ASSAD                                                                                P.O. Box 8619
    Cibik Law, P.C.                                                                                Philadelphia, PA 19101-8619
    1500 WALNUT STSTE 900                                                                       Analysis Date:                                  07/17/24
    Philadelphia PA 19102                                                                       Loan Number:
                                                                                                Borrower Name:                      ANGELA FOSTER GRIFFIN
                                                                                                Property Address: 31 WESTVIEW ST
                                                                                                                  PHILADELPHIA PA 19119




Each year Selene Finance LP reviews your escrow account to determine your new monthly escrow payment. As you may know, we collect funds and
hold them in your escrow account to pay your property taxes, flood insurance (if required), homeowner's insurance premiums and mortgage insurance
premiums on your behalf. Below are answers to the most commonly asked questions we receive about the annual escrow analysis and the details
related to your account.
1. What is the amount of my new monthly payment starting October 01, 2024?
                    Payment Items                                          Previous Payment                 New Payment                     Difference
                    Principal and Interest                                         $1,202.56                   $1,202.56                         $0.00
                    Escrow                                                           $775.36                     $794.20                        $18.84
                    Shortage                                                           $0.00                       $1.57                         $1.57
                    Total Payment                                                   $1,977.92                   $1,998.33                       $20.41

   ●   Note: If you currently use a third party bill pay service to make automatic payments, please update the amount scheduled to reflect the new payment amount
       listed above. If you are currently set up on automatic payments with Selene Finance LP, this new amount will automatically take effect with your October payment.
2. What are the most common reasons that my escrow payment may change from year to year?
  A. Increases or Decreases in Amounts Billed – The amounts we collect each month to be held in your escrow account may change based on
       increases or decreases to your property taxes, mortgage insurance premiums, or homeowner's insurance premiums. The information below
       compares the amounts Selene Finance LP expected to pay for each item this past year from your escrow account to the actual amounts that
       were paid or will be due. The difference column reflects the increase or decrease for each escrowed item.
                                                                                  Anticipated              Actual Amounts                     Difference
                    Escrowed Item                                                Amounts Due                   Paid or Due
                    CITY/1ST PAR                                                   $4,920.30                     $4,920.30                        $0.00
                    HOMEOWNERS I                                                   $4,384.00                     $4,610.00                      $226.00
                    Total Annual Escrow Payments                                   $9,304.30                     $9,530.30                      $226.00
                    Monthly Escrow Payments                                          $775.36                       $794.20                       $18.84


   B. Repayment of Escrow Shortage – According to the projections shown in Table 1 on the reverse side, your escrow account will fall below the
       minimum required balance of $1,588.38 in February. This means you have a shortage of $18.84 in your escrow account.
                         Projected Low Escrow Balance                            Allowable Low Escrow Balance                             Shortage
                                   $1,569.54                       minus                   $1,588.38                    equals            ($18.84)
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MICHAEL I ASSAD                                   Doc        Filed 08/09/24 Entered 08/09/24 11:20:44    Desc Main
                                                                                                Loan Number:
Cibik Law, P.C.                                              Document      Page 6 of 6
                                                                                                 NEW PAYMENT EFFECTIVE DATE: October 01, 2024


                                             ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12 months. This table shows
the projected low balance point that is used to calculate an escrow surplus or shortage.
TABLE 1 - ACCOUNT PROJECTIONS
                                                                 Payments        Disbursements          Current Projected Required Projected
Month               Description                                   Estimate             Estimate                   Balance            Balance            Difference
                             Beginning Balance                                                                  $7,128.84          $7,147.68
October 24          HOMEOWNERS I                                    $794.20            $4,610.00                $3,313.04          $3,331.88               -$18.84
November 24                                                         $794.20                $0.00                $4,107.24          $4,126.08               -$18.84
December 24                                                         $794.20                $0.00                $4,901.44          $4,920.28               -$18.84
January 25                                                          $794.20                $0.00                $5,695.64          $5,714.48               -$18.84
February 25         CITY/1ST PAR                                    $794.20            $4,920.30                $1,569.54          $1,588.38               -$18.84 **
March 25                                                            $794.20                $0.00                $2,363.74          $2,382.58               -$18.84
April 25                                                            $794.20                $0.00                $3,157.94          $3,176.78               -$18.84
May 25                                                              $794.20                $0.00                $3,952.14          $3,970.98               -$18.84
June 25                                                             $794.20                $0.00                $4,746.34          $4,765.18               -$18.84
July 25                                                             $794.20                $0.00                $5,540.54          $5,559.38               -$18.84
August 25                                                           $794.20                $0.00                $6,334.74          $6,353.58               -$18.84
September 25                                                        $794.20                $0.00                $7,128.94          $7,147.78               -$18.84
Totals                                                            $9,530.40            $9,530.30
 ** Low Balance used to determine escrow surplus or shortage.
Federal law (RESPA) allows lenders to maintain a two month cushion in an escrow account. A lower cushion may be required under state law. The
cushion helps minimize the amount your escrow account could be overdrawn if tax or insurance payments increase.
Table 2 itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. Last year’s estimates are next
to the actual activity. An asterisk (*) indicates a difference between the estimated and actual payments and disbursements. The letter 'E' beside an
amount indicates that the payment or disbursement has not yet occurred, but is estimated to occur as shown.
TABLE 2 - ESCROW ACTIVITY HISTORY
                                                                    Payments                       Projected Disbursement          Projected Escrow      Actual Escrow
Month            Description                                    Estimate            Actual           Estimate         Actual                Balance            Balance
                 Beginning Balance                                                                                                        $6,202.86        -$14,262.84
September 23     HOMEOWNERS I                                    $775.36          $563.21 *                         $4,610.00 *           $6,978.22        -$18,309.63
October 23       HOMEOWNERS I                                    $775.36                  *         $4,384.00                 *           $3,369.58        -$18,309.63
November 23                                                      $775.36        $3,945.35 *                                               $4,144.94        -$14,364.28
December 23                                                      $775.36                  *                                               $4,920.30        -$14,364.28
January 24                                                       $775.36                  *                                               $5,695.66        -$14,364.28
February 24      CITY/1ST PAR                                    $775.36                  *         $4,920.30       $4,920.30             $1,550.72        -$19,284.58
March 24                                                         $775.36        $1,689.63 *                                               $2,326.08        -$17,594.95
April 24                                                         $775.36          $563.21 *                                               $3,101.44        -$17,031.74
May 24                                                           $775.36                  *                                               $3,876.80        -$17,031.74
June 24                                                          $775.36        $1,126.42 *                                               $4,652.16        -$15,905.32
July 24                                                          $775.36       $21,390.58 E                                               $5,427.52          $5,485.26
August 24                                                        $775.36          $868.22 E                                               $6,202.88          $6,353.48
September 24                                                                      $775.36 E                                               $6,202.88          $7,128.84
Totals                                                         $9,304.32       $30,921.98           $9,304.30       $9,530.30
If you have questions about your escrow analysis statement please contact our Customer Service Department at (877) 735-3637.
If you have an active bankruptcy or have received a bankruptcy discharge, we are sending this for informational, legal, or compliance purposes only. We are not trying
to collect against you personally. If you have questions about this communication or your obligation to pay, please contact your attorney.
